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                                       #:35137

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  Pamela Thomas-Graham
  ​

                           UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                    WESTERN DIVISION
  CHARLES LARRY CREWS, JR.,                      Case No.: 2:22-cv-01524-JLS-E
  Individually and on Behalf of All Others
  Similarly Situated,                            DECLARATION OF EUNICE
                                                 LEONG IN SUPPORT OF
                  Plaintiff,                     DEFENDANTS’ EX PARTE
                                                 APPLICATION TO EXCEED WORD
        v.                                       LIMITS FOR SUMMARY
                                                 JUDGMENT MOTION
  RIVIAN AUTOMOTIVE, INC., ROBERT
  J. SCARINGE, CLAIRE MCDONOUGH, Judge: Hon. Josephine L. Staton
  JEFFREY R. BAKER, KAREN BOONE,
  SANFORD SCHWARTZ, ROSE          Magistrate Judge: Hon. Charles F. Eick
  MARCARIO, PETER KRAWIEC, JAY
  FLATLEY, PAMELA THOMAS-
  GRAHAM, MORGAN STANLEY & CO.,
  LLC, GOLDMAN SACHS & CO., LLC,
  J.P. MORGAN SECURITIES LLC,
  BARCLAYS CAPITAL INC.,
  DEUTSCHE BANK SECURITIES INC.,
  ALLEN & COMPANY LLC, BOFA
  SECURITIES, INC., MIZUHO
  SECURITIES USA LLC, WELLS FARGO
  SECURITIES, LLC, NOMURA
  SECURITIES INTERNATIONAL, INC.,

  LEONG DECLARATION ISO DEFS’
  EX PARTE APPLICATION TO EXCEED WORD LIMITS​​         ​    ​      ​    ​      ​
  CASE NO. 2:22-cv-01524-JLS-E
Case 2:22-cv-01524-JLS-E   Document 588-1 Filed 06/18/25   Page 2 of 3 Page ID
                                   #:35138

  PIPER SANDLER & CO., RBC CAPITAL
  MARKETS, LLC, ROBERT W. BAIRD &
  CO. INC., WEDBUSH SECURITIES
  INC., ACADEMY SECURITIES INC.,
  BLAYLOCK VAN, LLC, CABRERA
  CAPITAL MARKETS LLC, C.L. KING &
  ASSOCIATES, INC., LOOP CAPITAL
  MARKETS LLC, SAMUEL A.
  RAMIREZ & CO., INC., SIEBERT
  WILLIAMS SHANK & CO., LLC, and
  TIGRESS FINANCIAL PARTNERS LLC,
                  Defendants.​




  LEONG DECLARATION ISO DEFS’
  EX PARTE APPLICATION TO EXCEED WORD LIMITS​​    ​    ​      ​    ​      ​
  CASE NO. 2:22-cv-01524-JLS-E
Case 2:22-cv-01524-JLS-E       Document 588-1 Filed 06/18/25          Page 3 of 3 Page ID
                                       #:35139


                         DECLARATION OF EUNICE LEONG
        I, Eunice Leong, declare as follows:
        1.​    I am duly admitted to practice in the State of California and an attorney
  with the law firm Freshfields US LLP. I am counsel for Defendants Rivian
  Automotive, Inc., Robert J. Scaringe, Claire McDonough, Jeffrey R. Baker, Karen
  Boone, Sanford Schwartz, Rose Marcario, Peter Krawiec, Jay Flatley, and Pamela
  Thomas-Graham (collectively with Rivian, the “Rivian Defendants”) in the
  above-captioned matter. If called as a witness, I could and would competently testify to
  the matters stated herein.
        2.​    On June 9, 2025, I emailed Class Counsel, requesting that they stipulate to
  an expansion of the word limits for summary judgment briefs to 10,000 words for
  opening and opposing briefs and 5,000 words for reply briefs.
        3.​    On June 13, 2025, the Rivian Defendants telephonically met and
  conferred with Class Counsel to discuss summary judgment briefing. During this call,
  the Rivian Defendants stated that they would move ex parte to expand the word limits
  for their briefs if the parties could not come to an agreement.
        4.​    On June 16, 2025, the Rivian Defendants and Class Counsel again met
  and conferred telephonically. Class Counsel stated that they would oppose the request
  to expand word limits.
        5.​    On June 18, 2025, my office again advised Class Counsel via email that
  we would move ex parte to increase the limits.


  I declare under penalty of perjury that the foregoing is true and correct. Executed in
  Redwood City, California, on June 18, 2025.


    ​                                 ​   ​            By: /s/ Eunice Leong​   ​
                                              ​           Eunice Leong


  ​                                               1​
  LEONG DECLARATION ISO DEFS’
  EX PARTE APPLICATION TO EXCEED WORD LIMITS​​              ​     ​      ​     ​     ​
  CASE NO. 2:22-cv-01524-JLS-E​​
